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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

JONATHAN MONSARRAT,
     Plaintiff,

     v.                                              CIVIL ACTION NO.
                                                     17-10356-PBS
BRIAN ZAIGER,
     Defendant.


                  REPORT AND RECOMMENDATION RE:
PLAINTIFF MONSARRAT'S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
                       (DOCKET ENTRY# 90)

                      MEMORANDUM AND ORDER RE:
 DEFENDANT IN COUNTERCLAIM MONSARRAT'S MOTION TO AMEND ANSWER TO
    COUNTERCLAIM BY ADDING A COUNTERCLAIM (DOCKET ENTRY# 93);
     PLAINTIFF MONSARRAT'S MOTION TO STRIKE DEFENDANT ZAIGER'S
       OPPOSITION TO THE MOTION FOR JUDGMENT ON THE PLEADINGS
                        (DOCKET ENTRY # 104)

                            August 13, 2018



BOWLER, U.S.M.J.

     Pending before this court is a motion for judgment on the

pleadings filed by plaintiff Jonathan Monsarrat ("Monsarrat")

under Fed. R. Civ. P. 12 (c) ("Rule 12 (c)") (Docket Entry# 90),

a motion to strike defendant Brian Zaiger's ("Zaiger")

opposition to the motion for judgment on the pleadings filed by

Monsarrat under Fed. R. Civ. P. 12 (f) ("Rule 12 (f) ") (Docket

Entry# 104), and a motion filed by Monsarrat to amend his

answer to the counterclaim ("MAAC") under Fed. R. Civ. P. lS(a)

("Rule 15") (Docket Entry# 93).      On July 12, 2018, this court
